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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

BRIDGET DE MOURA CASTRO AND                          :
LUIZ DE MOURA CASTRO, by his next best               :
friend Helena Hilario                                :
                             Plaintiffs              :
v.                                                   :        3:21-cv-1020-RMS
                                                     :
GOODLEAP, LLC, f/k/a LOANPAL, LLC,                   :
PRIME ENERGY, LLC AND 1ST LIGHT                      :        September 23, 2024
ENERGY, INC.                                         :
                            Defendants               :


                 DECLARATION OF JEFFREY GENTES PER 28 U.S.C. § 1746

I, Jeffrey Gentes, hereby declare as follows:



   1. I have been a member of the Connecticut bar since 2003. Since 2010, I have been the

Managing Attorney, Fair Lending and Foreclosure Prevention at Connecticut Fair Housing

Center, the sole statewide nonprofit that litigates fair lending claims on behalf of homeowners,

and, with the exception of the law school clinic I co-supervise, the only statewide nonprofit

representing homeowners facing foreclosure and with wrongful foreclosure claims. I am also a

Clinical Lecturer in Law at Yale Law School. In my role at YLS, I co-supervise its Housing

Clinic with Professor Anika Singh Lemar. I have co-supervised the Clinic since September 2012

and originally supervised this Clinic with Professor J.L. Pottenger, Jr.

   2. I am one of the two Center attorneys who have been responsible for representing

Plaintiffs in this matter. The other Center attorney is Sarah White, whose work I supervised.

   3. For the past sixteen years, my work has focused almost exclusively on housing cases, and

the vast majority of those have been housing finance cases.
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      4. I regularly speak at housing meetings and at events held by public officials regarding

housing finance. I am the co-chair for the Appellate Advocacy Section of the Connecticut Bar

Association and have been involved in more than fifty appeals as counsel for a consumer or as

amicus curiae, including seven amicus briefs filed with the Supreme Court of the United States

and at least two with the Second Circuit Court of Appeals. Additionally, I have done trainings for

six different states’ foreclosure mediators and thousands of attorneys, and I have presented more

than a dozen times at conferences sponsored by the National Consumer Law Center (NCLC) and

the National Association of Consumer Advocates. I have been disclosed as an expert witness in

four cases, including one on behalf of the Consumer Financial Protection Bureau in the Central

District of California. I have also contributed to the NCLC manual “Home Foreclosures.” I have

been involved in drafting, negotiating, and lobbying for bills involving housing finance matters

for consumers at the state level since 2010. And I have been involved in national working groups

regarding housing matters and more than two hundred trial court cases, including more than forty

in this District.

      5. My last fee award in this District was in the case Stevenson v. Flagstar, FSB, No. 3:19-

cv-960-JBA, 2021 WL 3639533 (Aug. 21, 2021). In that case Judge Arterton awarded the Center

fees attributable to my work in 2019 and 2020 on behalf of the prevailing plaintiffs at the

requested rate of $375 per hour. She also awarded $300 per hour for similar work by another

Center attorney who, like Attorney White, has been practicing since 2010.

      6. According to the Bureau of Labor Statistics, a rate of $375/hour in January 2020 would

be equivalent to $457.60 as of August 2024, 1 and $300/hour in January 2020 is equivalent to

$366.08 as of August 2024. 2


1
    https://data.bls.gov/cgi-bin/cpicalc.pl?cost1=375&year1=202001&year2=202407



                                                       2
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      7. The Center does not charge clients directly for work performed, but does recover fees for

litigation through statutes giving rise to attorney fees, such as CUTPA and TILA.

      8. In the past few years, we at the Center have met with several consumers with complaints

regarding solar panel sales and installation. But we seldom have the resources to prosecute such

actions given the limited resources available for our core litigation practices of foreclosure

defense, fair housing suits, and actions against abusive mortgage companies. The local private

bar for its part lacks practitioners willing to take on individual consumer suits against the solar

industry, largely because of lack of practical experience and the regulatory and financial troubles

that many industry players are facing, making the prospect of collection difficult.

      9. I first learned of this action through Attorney Milz, whom I know from national

consumer law conferences. I believe there is no one in the country with more experience than

Mr. Milz in handling solar panel fraud cases on behalf of wronged consumers.

      10. Had Plaintiffs contacted us directly, Flitter Milz would have been my first choice to enlist

as both pro hac vice counsel and lead trial counsel.

      11. We agreed to make to accept this matter because the facts were particularly egregious and

because we were able to co-counsel with Flitter Milz.

      12. Representation in both 2021 and, following Judge Haight’s decision, in 2024 involved a

considerable share of the Center’s very limited resources. The Center only has the equivalent of

two full-time attorneys devoted to homeowner-side cases like this one. This year we have

represented far fewer defendants than in a usual year, in part because of the outsized attention

this case required in 2024.




2
    https://data.bls.gov/cgi-bin/cpicalc.pl?cost1=300&year1=202001&year2=202407



                                                       3
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    13. We were able to contribute substantially to success in this case because of our extensive

experience representing consumers victimized by predatory lending scams, along with our

CUTPA expertise. See, e.g., the Center’s role as successful plaintiffs’ counsel in Cenatiempo v.

Bank of Am., N.A., 333 Conn. 769 (2019) (establishing CUTPA liability for wrongful mortgage

servicing).

    14. As detailed in Exhibit 1, and based on my contemporaneous timekeeping in this case (i.e.,

how we timekeep at the Center), I spent 161.8 hours on this case. We are not seeking

compensation for hours spent on certain internal conferences and administrative time, nor are we

seeking compensation for time spent by other Center attorneys (including the time of the

Center’s Executive and Legal Director, Greg Kirschner). Nor are we seeking compensation for

time that reflects the share of work done in respect of all three Defendants that can be allocated

to Defendant GoodLeap, LLC (e.g., we are only seeking two-thirds of the time spent on drafting

the complaint) nor work attributable solely to GoodLeap (e.g., much of the work spent this

summer until Plaintiffs dismissed their claims against GoodLeap).

    15. Given my experience and expertise; the potential for our clients to face a collection action

against their home based on the fraudulent loan tied to the solar panels; the lack of attorneys in

the District who have the resources and expertise necessary to bring this type of action on behalf

of individual consumers; the importance of combatting solar panel fraud, as demonstrated by the

recent activity of the Office of Attorney General; 3 the prompt attention we gave to this case

notwithstanding the Center’s caseload and staffing challenges; and the effect of inflation since

my last fee award, I believe the requested fee award of $48,588.33, given the 217.1 total


3
 See, e.g., recent OAG press releases like https://portal.ct.gov/ag/press-releases/2024-press-releases/attorney-
general-tong-sues-sunrun (July 19, 2024) and State of Connecticut v. Vision Solar, Superior Court, judicial district of
Hartford, Docket No. HHD-CV23-6166410-S.



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recoverable hours and the reductions we have made, is reasonable. I further believe that $450 per

hour is a reasonable rate for my services in connection with this matter and that $350 per hour is

a reasonable rate for the services of Attorney White.



I declare under penalty of perjury that the foregoing is true and correct.


Executed in Enfield, Connecticut on September 23, 2024:
                                                                      Jeffrey Gentes




                                                  5
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                         Exhibit 1
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Date        Hours    Employee                                               Notes

3/15/2021    1.2    Gentes, Jeff   client intake meeting - with Cema, Milz, SW
3/15/2021    0.7    White, Sarah   review documents related to solar issue
3/15/2021    1.2    White, Sarah   mtg with bridget's daughter, cema, re:solar panel issus, debrief after with andy and jg
3/16/2021    0.2    Gentes, Jeff   conf w/SW re angles for research and claims, conferring with Andy re same.
3/17/2021    2.5    White, Sarah   research on potential state law claims
                                   emails w/Andy re more info from PC, mtg for tmrw. SW email re potential causes of
3/18/2021    0.2    Gentes, Jeff   action. Andy email re same.
                                   review email from Andy, compile and send info re: other violations and possible
3/18/2021    0.5    White, Sarah   causes of action
                                   write up summary of potential legal claims, send to co-counsel, review co-counsels
3/18/2021    0.6    White, Sarah   write-up re: TILA
3/19/2021     1     Gentes, Jeff   intake mtg w/Bridget + Cema
3/19/2021    1.2    White, Sarah   meeting with Bridget and Cema. quick debrief with co-counsel + next steps
3/22/2021    0.1    Gentes, Jeff   review follow-up correspondence with Cema, report from Shawn.
3/29/2021    0.2    Gentes, Jeff   reviewed and typed up notes from intakes.
3/30/2021    0.3    White, Sarah   research re elder abuse claims
4/16/2021    0.7    White, Sarah   further research re CT law applicability for solar panel fraud and elder abuse
4/21/2021    1.7    White, Sarah   review model complaints, start skeleton of CT state law causes of action
 6/4/2021    0.1    Gentes, Jeff   go through draft complaint, conf w/SW re editing same.
                                   Complete my round of edits to the complaint and send to JG to review. Focus on
6/29/2021    2.4    White, Sarah   CUTPA and elder abuse.
 7/1/2021    0.4    Gentes, Jeff   edits to complaint, conf w/SW re same
 7/1/2021    1.2    White, Sarah   finalize edits to the complaint, incorporate JG suggestions, email to Andy Milz
                                   conf w/SW re status of case, emails re clients' signoff on complaint, including Helena.
7/22/2021    0.1    Gentes, Jeff   will file on Monday thru SW's ECF account.
7/26/2021    0.2    Gentes, Jeff   conf w/SW re complaint filing, file notice of app
                                   Finalize complaint for filing (copyedits, small changes). Assemble exhibits and file all.
7/26/2021    3.2    White, Sarah   Look-up service addresses for each defendant. Email co-counsel.
7/29/2021    0.1    Gentes, Jeff   conf w/SW re strategy for discovery, coordination with co-counsel re same.
                                   verify service addresses, download docs from ECF for service, prepare packet for
 8/5/2021    1.2    White, Sarah   service, consult with the marshal
8/16/2021    0.1    Gentes, Jeff   conf w/sw re service issues for Prime
8/17/2021    0.1    Gentes, Jeff   conf w/FM re fees decision, judge assignment
8/20/2021    0.1    Gentes, Jeff   LoanPal counsel appears, conf w/FM re same
8/24/2021    0.3    White, Sarah   PHV motions
8/24/2021    0.3    White, Sarah   review & file returns of service
8/25/2021    0.1    Gentes, Jeff   PHV correspondence from court, vm from LoanPal counsel, conf w/SW re same.
8/27/2021    0.1    Gentes, Jeff   Prime -- conf w/SW re service issues. work on ways to find address.
                                   research re Prime: review statute re: whether abode service is proper on agent of LLC
                                   at home; yes it is. review info re: his home adress; has not filed an annual report for
                                   2020. look at land records--property was sold in 4/2021. start to look for his current
8/27/2021    0.7    White, Sarah   address
                                   add'l attmptes to find service address for Prime Energy. Business address may be
                                   inaccurate now--they may have moved to a different suite in the same cmplex. unable
8/27/2021    0.4    White, Sarah   to find his new home address
 9/1/2021    0.2    Gentes, Jeff   review 1st light o/c. conf w/other counsel re same.
 9/1/2021    0.2    Gentes, Jeff   review vm from def's agent of service. conf w/SW re same.
 9/3/2021    0.1    Gentes, Jeff   call w/FM re status of parties' appearances, set up same.
                                   motion to stay arbitration. FM will handle most. SW will handle parts per
                                   CUTPA/severability. due 9/24. 26(f) report will start here. will get discovery out soon
 9/3/2021    0.5    Gentes, Jeff   after whatever conference we have. will talk to clients about [redacted].
 9/3/2021    0.5    White, Sarah   planning call w/ co-counsel



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  9/3/2021   0.2   White, Sarah   attempts to locate unserved defendant
  9/3/2021   0.4   White, Sarah   read/review motion to stay filed by defendant
  9/3/2021   0.2   White, Sarah   email to set up 26f
  9/8/2021   0.1   White, Sarah   re: 26f scheduling
 9/13/2021   0.1   Gentes, Jeff   conf w/SW re plan for 26(f) report, conference with o/c re same.
 9/13/2021   0.1   White, Sarah   emails re: 26f scheduling
 9/13/2021   0.1   White, Sarah   find/share 26f template and local rules, samples
 9/14/2021   0.2   White, Sarah   case discussion w/ JG
 9/15/2021   0.2   White, Sarah   emails about 26f scheduling
                                  review certs for opposition to motion for stay/to copmel arbitration, check
 9/17/2021   0.4   White, Sarah   statute/local rules re: compliance
 9/20/2021   0.1   White, Sarah   emails/zoom re: 26f
                                  research ct law on home improvement act for incorpration into motion to stay, review
 9/21/2021   3.2   White, Sarah   statute and cases, draft section on K ineffective for inclusion in opposition
 9/21/2021   0.5   White, Sarah   26f conference
 9/22/2021   0.3   White, Sarah   review opposition to motion for stay, edits to same
 9/24/2021   1.1   White, Sarah   finalize + file opposition to motions to stay
 10/8/2021   0.1   Gentes, Jeff   reviewed replies to arb motions.
10/13/2021   0.1   Gentes, Jeff   emails re surreply
10/14/2021   0.4   White, Sarah   listen to vm, review reply, answer Q re: procedure for sur-rreply
10/15/2021   0.8   White, Sarah   finish + file motion for leave to file sur-reply and attachment
10/19/2021   0.2   White, Sarah   CCPA research; conclude [redacted]
10/19/2021   0.3   White, Sarah   file sur-reply
10/26/2021   0.1   Gentes, Jeff   conf w/SW re [REDACTED]vis-a-vis LoanPal.

12/16/2021   0.3   Gentes, Jeff   conf w/SW re non-appearing defendant. i will email co-counsel about it. [redacted]
                                  check in with FM, conf w/SW before I do, re Prime Energy's continuing non-
 1/31/2022   0.1   Gentes, Jeff   appearance.
                                  conf w/SW re results of research. will draft motion for leave of court and circulate it to
  2/1/2022   0.2   Gentes, Jeff   co-counsel + new address for Prime Energy.
  2/3/2022   0.6   Gentes, Jeff   draft motion for leave to re-serve Prime Energy, circulate to team for review.
  2/4/2022   0.4   Gentes, Jeff   incorporate edits from FM, add exhibits, proof, finalize, and file
 4/28/2022   0.1   Gentes, Jeff   order granting leave to re-serve Prime Energy, conf w/SW re follow-up for same.
  5/5/2022   0.1   Gentes, Jeff   conf w/SW re marshal to select for serving Prime Energy in North haven.
                                  doublecheck defendant prime energy's address, contact marshal w/ service
  5/9/2022   0.8   White, Sarah   instructions, t/c with marshal's office, email to marshal
                                  emails/tc with marshal re: service and that there are no originals because this is
 5/10/2022   0.3   White, Sarah   federal court
 5/11/2022   0.1   White, Sarah   get back return of service--prime energy served
  6/3/2022   0.5   Gentes, Jeff   edited, finalized, and filed notice of add'l authority. conf w/FM re same.
 6/28/2022   0.1   Gentes, Jeff   review Haight orders, Faulkner follow-up, conf w/SW re same.
 6/29/2022    1    White, Sarah   read/review order, take notes re: same
 6/30/2022   0.5   Gentes, Jeff   mtg w/FM, SW re court order, plans for hearing & trial.
 6/30/2022   0.5   White, Sarah   call re: what to do given judge's order
  7/5/2022   0.1   Gentes, Jeff   looked into effect of fake email address on K/esignature. conf w/SW re same.
  7/6/2022   1.2   White, Sarah   review docs in case, contracts, pleadings to prep for meeting with client
  7/7/2022   0.6   Gentes, Jeff   mtg w/ Cema + Helena. agreed to prep + having both parents at hearing on 7/27.
  7/7/2022   0.6   White, Sarah   mtg w/ Bridget + Cema to prep/discuss
                                  conf w/GK re Haight evidentiary hearings and the like in light of upcoming hearing in
 7/12/2022   0.1   Gentes, Jeff   this case.
 7/13/2022   0.1   White, Sarah   email re: prep for client meeting
 7/17/2022   0.1   Gentes, Jeff   reviewed Haight TRO decision, conf w/GK re further research; alas, n/a
                                  mtg w/clients in prep for hearing. [redacted] review Judge Haight's chamber practices,
 7/21/2022   1.9   Gentes, Jeff   next steps.




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                                  draft email to judge's clerk re: procedures for evidentiary hearings, share with others,
 7/22/2022   0.4   White, Sarah   send
                                  draft/file request for entry of default against prime, check on service/fed ex dates,
 7/22/2022   0.8   White, Sarah   review judge's order.
                                  internal discussion re judge's preferences + default judgment order following entry of
 7/25/2022   0.1   Gentes, Jeff   default.
 7/25/2022   1.1   White, Sarah   prep meeting for evidentiary hearing
                                  evidentiary hearing. prep for same. debrief with clients, co-counsel, follow-up with o/c
 7/27/2022   3.9   Gentes, Jeff   re certificate of completion from Docusign. (3.8) request transcript (0.1)
 7/27/2022   3.8   White, Sarah   evidentiary hearing and quick debrief
 7/28/2022   0.1   Gentes, Jeff   review Haight order. email to court reporter re transcript order.
  8/6/2022   0.1   Gentes, Jeff   conf w/co-counsel re handling post-hearing brief
  8/8/2022   0.1   Gentes, Jeff   conf w/FM re internal logistics for post-hearing brief
 8/17/2022   0.5   White, Sarah   review motion for default judgment
 8/19/2022   0.2   Gentes, Jeff   pulled CUTPA language for briefing, conf w/SW re same.
 8/19/2022   0.7   White, Sarah   review draft post hearing brief, edits
 8/22/2022   0.2   Gentes, Jeff   reviewed motion for default judgment papers, related research
 8/23/2022   0.1   Gentes, Jeff   conf w/SW re handling service to non-appearing defendant via snail mail
 8/30/2022   0.3   Gentes, Jeff   review post-hearing briefs from defs. conf w/SW re same.
  9/6/2022   0.1   Gentes, Jeff   internal emails re response to LoanPal's post-hearing memo
                                  conf w/SW re considerations for post-hearing "response memo," expert retention
  9/7/2022   0.1   Gentes, Jeff   considerations
  9/8/2022   0.1   Gentes, Jeff   conf w/FM re response memorandum edit
  9/8/2022   0.7   White, Sarah   review brief, email re: same to co counsel
  9/9/2022   0.1   Gentes, Jeff   review Loanpal response
 12/9/2022   0.4   White, Sarah   review PHV motion, file
                                  review local rules, haight preferences, westlaw, talk to GK re: how to get expert report
 12/9/2022   0.8   White, Sarah   in
12/22/2022   0.8   White, Sarah   review/file motion to supplement the reocrd
  1/8/2023   0.1   Gentes, Jeff   review opp from LoanPal. [redacted]
                                  conf w/FM re pushing forward with depositions of our elderly clients given the
  3/8/2023   0.1   Gentes, Jeff   continued delay.
 5/24/2023   0.1   Gentes, Jeff   conf w/Milz re asking court to take action on the motion to stay.
                                  research chamber preferences re party contacts, conf w/co-counsel re same & draft
 6/13/2023   0.3   Gentes, Jeff   suggested ltr re pending motion to stay proceedings.
 6/26/2023   0.1   Gentes, Jeff   conf w/Milz re recent goodleap discussion, internal conferral.
                                  conf w/Milz re next steps, effect of recent SCOTUS decision, deposing clients, and
                                  arbitration. follow-up with clients, SW. go through meeting, pick potential weeks for T-
                                  R depositions: 7/17, 7/24, 8/14. will try to conduct them at Bridget's kitchen table,
 6/28/2023   1.2   Gentes, Jeff   particularly because Luiz is not very mobile these days. [redacted]
  7/5/2023   0.1   Gentes, Jeff   update SW on case developments, update FM on availability for depositions
  8/1/2023   0.1   Gentes, Jeff   conf w/SW + FM re upcoming deposition attendance & logistics.
  8/4/2023   0.1   Gentes, Jeff   hammered out depn + depn prep schedule, various emails re same
 8/13/2023   0.6   Gentes, Jeff   prep for Weds discovery, review 145 pgs of discovery we produced
 8/15/2023   0.3   Gentes, Jeff   conf w/Andy, SW, prep for next day
 8/15/2023   2.8   White, Sarah   depo prep with bridget, travel to/from
                                  clients' depositions, prep for & debrief same with clients & co-counsel Milz, update to
 8/16/2023   10    Gentes, Jeff   SW, travel to/from.
 8/20/2023   0.2   Gentes, Jeff   internal emails re status of default judgment motion for Prime Energy
 9/20/2023   0.5   Gentes, Jeff   internal discussion and conf w/Milz re getting decision on motion to stay

 9/21/2023   0.1   Gentes, Jeff   follow-up re sub judice motion. conf w/SW re plan for motion for status conference.
 9/22/2023   0.3   Gentes, Jeff   put together request for status conf based on internal discussions
12/12/2023   0.1   Gentes, Jeff   internal discussion re status conf request




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                                  conf w/Milz re status conference request. edit + finalize + file same. review similar
  2/6/2024   0.4   Gentes, Jeff   Haight order.
  2/8/2024   0.2   Gentes, Jeff   review Haight order referring to trial on K formation issue, conf w/Milz re next steps
  2/8/2024   0.2   Gentes, Jeff   conf w/Milz, SW re default judgment against prime, next steps
  2/9/2024   0.1   Gentes, Jeff   conf w/AM re [redacted] re 1st Light & GoodLeap, set up call for same.
                                  conf w/Milz re approach to [redacted] next steps in light of Coinbase et al. research
                                  and report back on expedited appellate procedures. tc w/clients re resolution. they
 2/12/2024   1.4   Gentes, Jeff   want [redacted]. Discuss next steps
                                  conf w/FM re electing magistrate judge, asking for jury trial on K formation issue per
                                  Haight order. review forms re same. email to o/c re consent for same. both have no
 2/14/2024   0.4   Gentes, Jeff   objection. will get something on file soon.
                                  draft, file request for jury trial w/consent to magistrate. shortly thereafter, Haight
 2/15/2024   0.5   Gentes, Jeff   schedules status conference for 3/6 @ 10:30 via Zoom.
 2/28/2024   0.5   Gentes, Jeff   reviewed and wrote-up Haight decision
 2/29/2024   0.3   Gentes, Jeff   wrote up next steps for matter, conf internally re same.
  3/1/2024   0.1   Gentes, Jeff   conf call setup; emails re magistrates in D.Conn.
                                  judge offers to mark off 3/6 conference and refers matter to Judge Spector. goodleap
                                  [redacted]. conf w/JLJ re same. set up internal meeting re same. file notice per judge
  3/4/2024   0.5   Gentes, Jeff   suggestion to withdraw our request for 3/6 conference. he does so.
  3/6/2024   0.7   Gentes, Jeff   tc w/FM re resolution strategy , judge referral, trial timing for July. prep for same.
 3/10/2024   0.1   Gentes, Jeff   follow-up on GoodLeap call + Judge Spector setting up scheduling call for 3/12.
                                  status call w/Judge Spector. prepared & circulated consent form. set jury pick date for
                                  5/28, trial to go as long as 6/4 though we all agree 1.5 days is enough. discovery to
 3/12/2024   0.4   Gentes, Jeff   start in meantime. will work on Luiz to be remote deposition for his testimony.
 3/13/2024   0.1   Gentes, Jeff   get magistrate consent form filed after o/c sign their versions.
 3/17/2024   0.1   Gentes, Jeff   check in with FM re discovery propounding, status of settlement.
 3/18/2024    1    Gentes, Jeff   drafted K formation discovery requests, conf w/FM re same.
 3/19/2024   0.1   Gentes, Jeff   review edits to discovery, will propound two sets tmrw, conf w/FM re same.
 3/20/2024   0.3   Gentes, Jeff   finalized and propounded discovery requests on defs
                                  Judge Spector sets trial deadlines, pretrial for 5/15, conf w/AM + SW re same. review
 3/21/2024   0.2   Gentes, Jeff   pretrial order.
 3/27/2024   0.1   Gentes, Jeff   Judge Spector orders, conf w/AM re same.
 4/15/2024   0.1   Gentes, Jeff   conf w/FM re trial brief, upcoming deadlines, settlement openings
 4/16/2024   0.1   Gentes, Jeff   conf w/FM re updates from Goodleap, set up meeting for next day
 4/17/2024   0.5   Gentes, Jeff   trial prep call with co-counsel
 4/18/2024   0.1   Gentes, Jeff   worked on call with o/c, set for 4/22 @ 2:30 p.m.
04/19/2024   1.7   Gentes, Jeff   worked on pretrial memo, update to co-counsel re same, mtg re [redacted]
04/22/2024   0.5   Gentes, Jeff   mtg with o/c re trial prep, joint memo; debrief with FM afterwards
04/23/2024   0.1   Gentes, Jeff   circulate sample dconn pretrial memo + jury instructions
04/26/2024   0.1   Gentes, Jeff   various re o/c and discovery prod, nothing from 1st Light still, email re voir dire
04/30/2024   0.8   Gentes, Jeff   tc to clerk re exhibit marking. review trial prep docs, conf w/FM re same.
05/01/2024   0.1   Gentes, Jeff   conf w/FM re phone calls and dealt with other Goodleap production
05/02/2024   0.7   Gentes, Jeff   trial prep - reviewed 1st light discovery, conf w/FM re next steps
                                  conf w/FM re discovery, upcoming deadlines. email 1st light re same.draft xtn re JTM
05/03/2024   0.9   Gentes, Jeff   + file, granted with no more xtns. various emails re same.
05/06/2024   0.1   Gentes, Jeff   work on M&C re 1st light.
                                  reviewed o/c markups, conf w/FM re same. client mtg (0.8). work through similar pre-
                                  trial prep. tc w/Milz and Barazza re final changes (0.3). Finalized JTM docs + filed +
05/07/2024   2.5   Gentes, Jeff   prepared chambers' copies (0.7).
                                  reviewed MIL, conf w/FM re same. printed, proofed, and delivered chambers copies to
05/08/2024   0.5   Gentes, Jeff   clerk's office for JTM, confirmed same with o/c.
05/13/2024   0.5   Gentes, Jeff   conf w/SW re pretrial, info for same. conf w/FM re plan for same, next two weeks.
05/13/2024   0.5   White, Sarah   conf w/ JG re trial, plan for rest of month
05/14/2024   0.1   Gentes, Jeff   conf w/SW re prep for tmrw, emails re 1st Light/continuing discovery dispute.



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05/14/2024   0.1   White, Sarah   conf w/ JG re: pretrial
                                  conf w/SW, FM re pretrial, remote tech. review voir dire + questionnaire. court's
05/15/2024   0.5   Gentes, Jeff   request for scheduling availability on 5/21 and 5/22. exhibit discussion with FM.
05/15/2024   1.3   White, Sarah   pretrial
05/15/2024   0.7   White, Sarah   review jtm, jury instructions for pretrial
05/16/2024   0.2   Gentes, Jeff   various re defs exhibits (or lack thereof)
                                  w/FM re 1st light lack of exhibits. confirm they haven't been circulated. bump those
                                  on email to everyone.court grants MIL, specific only to Goodleap litigation.pretrial call
                                  scheduled for 5/22.goodleap and then 1st light declare that they are going to w/draw
                                  their motions to compel, to moot the jury trial. [redacted]. conf w/FM re same. review
05/17/2024   0.5   Gentes, Jeff   motions to w/draw.
05/18/2024   0.3   Gentes, Jeff   work through docket, conf w/FM re new scheduling order internally.
                                  call with clients. conf w/FM re next steps. Judge Spector schedules status conference
05/20/2024   1     Gentes, Jeff   by Zoom.
                                  status conf with Judge Spector, prepare for same with FM. research re 2d Cir, CUTPA.
05/21/2024   1.4   Gentes, Jeff   jury trial set for 8/19. debrief with Milz. review & edits to stip.
05/23/2024   0.1   Gentes, Jeff   review defs' markup for stip, it's fine
                                  finalized and filed scheduling order + stip after we sign off + we get the ok from o/c to
05/24/2024   0.3   Gentes, Jeff   file.
                                  1st light needs a day to answer. fine. we have till Friday to issue discovery. Spector
                                  approves proposed scheduling order, issues new pre-trial order, JTM now due 7/17,
05/29/2024   0.1   Gentes, Jeff   pretrial 7/19.
                                  strategy session re discovery requests [redacted] GoodLeap, set up same.review defs'
05/30/2024   1.2   Gentes, Jeff   answers.
                                  goodleap research. comments on discovery requests, deposition notices with FM.
05/31/2024   1.9   Gentes, Jeff   review discovery requests from 1st light, conf w/FM re same.

                                  dealt with Barazza clawback and dealt with related discovery request. conf w/clients,
06/03/2024   1.3   Gentes, Jeff   [redacted] .mtg w/Jody & Andy to debrief. contact LA Roofing, request help/quote.
06/04/2024   0.2   Gentes, Jeff   work on roof quote; discuss BBB complaints with FM
                                  more roofing search. connect with someone: Cathy at Barnard-Barlett. can do quote
06/05/2024   0.6   Gentes, Jeff   on 19th or 20th. update clients re same.
                                  worked on dMC discovery responses, conf w/FM re same.reviewed hearing
06/07/2024    3    Gentes, Jeff   transcripts, documents produced at deposition.
06/10/2024   0.2   Gentes, Jeff   MacDonald moves to withdraw, no substitute identified, conf w/FM re same.
                                  various re upcoming depositions with FM, Goodleap counsel. Judge Spector schedules
                                  hearing for 6/14 @ 1 re motion to withdraw. review of BdMC transcript. further
06/11/2024   1.4   Gentes, Jeff   research re Goodleap
                                  compiled production, edits to Bridget's responses and objections, drafted HH/LMC
06/12/2024   1.5   Gentes, Jeff   responses and production, conf w/FM re same.
                                  mtg w/clients re discovery responses, revised accordingly and compiled sets. emails
06/13/2024   0.8   Gentes, Jeff   w/Goodleap re upcoming depositions.
                                  finalized discovery responses, served. edited & served 26(a)(1) disclosures. hearing
                                  with Judge Spector, debriefed with FM, further follow-up re 1st Light. looked up Avon
06/14/2024   2.2   Gentes, Jeff   town records re deed/Shawn's role.
                                  goodleap 30(b)(6) objections, conf w/FM re same, work towards MTC on same +
06/17/2024   0.7   Gentes, Jeff   discovery objections.
                                  tc w/roofer; he will get quote over soon. has solar experience. He was incredulous
                                  that it was a purchase and offered up, unsolicited, that the only remotely "ethical"
                                  way to handle the tree canopy was to do a PPA so that they were at least only paying
                                  for whatever was generated. He thought 15-20 trees would have been needed to be
06/19/2024   0.2   Gentes, Jeff   cut, at a minimum. conf w/FM re same.
                                  hearing with Judge Spector re 1st Light withdrawal and discovery dispute, prepare for
06/20/2024   1.1   Gentes, Jeff   and debrief with AM re same, default + default judgment forthcoming
06/21/2024   0.2   Gentes, Jeff   various re discovery; w/contractor re roof quote, solar panel removal



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06/23/2024   0.2   Gentes, Jeff   review of recent discovery responses from defs
06/24/2024   0.1   Gentes, Jeff   various re upcoming depositions, 3rd party and not, discovery docs.
06/25/2024   0.1   Gentes, Jeff   with FM re trial tack, the day's deposition.
06/25/2024   3.5   White, Sarah   depo - briana
06/26/2024   2.6   White, Sarah   bret stevens depo
                                  work on discovery dispute status update memo, review of docket and local rules, conf
                                  w/SW and AMM re depositions, next steps. run final version of status report, conf
06/28/2024   1.4   Gentes, Jeff   w/oc re finalization & filing of same.
06/28/2024   0.3   White, Sarah   Conf. w JG re: case/depositions
                                  drafted 55a motion against 1st Light; conf w/FM re same. began 55b motion against
06/29/2024   0.4   Gentes, Jeff   Prime Energy & 1st Light
                                  conf w/SW re last week's depositions, Murphy, default judgment tactics. conf w/FM re
07/01/2024   0.9   Gentes, Jeff   follow-up, this week's activities. w/clients re next day's depositions.
07/01/2024   0.3   White, Sarah   Conf with JG re: DMC and depositions
                                  Hilarios' depositions. debrief with AMM, follow-up re protective order, [redacted].
07/02/2024   2.1   Gentes, Jeff   wrote out outline of next two weeks for plaintiffs team.
                                  w/FM re jury instructions, JTM, upcoming depositions. drafted JTM. email to o/c re
07/03/2024   1.1   Gentes, Jeff   same.
07/04/2024   1.8   Gentes, Jeff   finished draft of JTM, conf w/FM re various next steps.
                                  updated joint jury instructions re CUTPA, damages, removing arbitration references,
07/05/2024   3.8   Gentes, Jeff   conf w/FM re same.
                                  finalized & filed motion for default entry. started work re default judgment. (0.3)
                                  marked/produced re-roofing estimate. with o/c re getting their own quote. reviewed
07/05/2024   0.6   Gentes, Jeff   supplemental production (0.3)
                                  drafted jury instructions for elder exploitation and fraudulent concealment, conf
07/05/2024   0.9   Gentes, Jeff   w/FM re same.
                                  start work on drafting default judgment motion against both defaulted defendants,
07/05/2024   0.9   Gentes, Jeff   research on same.
                                  drafted motion for default judgment and memorandum against Prime and 1st Light,
07/06/2024   1.8   Gentes, Jeff   conf w/FM re same
                                  various re upcoming depositions, follow-up from last week's (0.2)went through default
                                  judgment paperwork and conf w/FM re same (0.2)researched and wrote up j&s
                                  liability re CUTPA + fradulent concealment for FM (0.5) follow-up re solar panel
07/08/2024   1.1   Gentes, Jeff   removal quote (0.1)internal re support for jury trial, jury selection, etc.
                                  prep for next day's deposition w/FM. with o/c re same. Murphy moved to 11 a.m. on
                                  7/10.Cema depn .follow-up from last week's depositions.m&c re spreadsheet. push
                                  back on PII (names/addresses/etc.), accept his proposal on '22 + '23 financials so long
                                  as he confirms in writing that they won't push back on "these aren't the most
                                  updated"discussions re pushing back 30(b)(6) deposition.murphy's deposition changes
07/09/2024   3.3   Gentes, Jeff   late at night to with counsel, and remote.
                                  Murphy deposition, prepared for same and debriefed. he has no counsel with him, and
07/10/2024   3.1   Gentes, Jeff   he takes it from his car.
                                  provided info to contractor re removal & disposal of solar panels for quote. (0.4) tc
                                  w/FM re strategy for defaulted defendants (0.2), Mark Murphy.edits to jury
07/11/2024   1.6   Gentes, Jeff   instructions, comments on verdict slip and strategy for both. (1.0)
07/12/2024   3.1   Gentes, Jeff   Tanehy deposition w/AMM. follow-up re pretrial materials, 30(b)(6) rescheduling.
07/15/2024   0.1   Gentes, Jeff   propounded supp discovery following review of solar panel removal quote
07/16/2024   0.1   Gentes, Jeff   JTM review & submission prep, various re remaining depositions.
                                  various re GoodLeap's complaint production. (0.1) 30(b)(6) deposition, debrief. (6.4)
                                  work towards filing & finalizing JTM docs. (0.9) revised and finalized default j motions.
07/17/2024   7.8   Gentes, Jeff   (0.4)
                                  various follow-up re JTM + potential amended answer by GoodLeap; w/GoodLeap,
                                  client, re roof inspection; review jury materials from Court, conf w/co-counsel re
07/18/2024   1.1   Gentes, Jeff   same.




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                                  jtm with judge spector. expands till 8/2 time to get exhibits + stips filed. wants jury
                                  instructions and verdict slips 7/26. discuss typical day. end of day is good for dealing
                                  with evidentiary issues that arise. 30 min open statement. hour limit on closing. will
                                  test tech post-jury selection. may do MIL args after jury selection or on morning of
                                  8/16. only MIL known is evidence of prior complaints from GoodLeap. wants two
                                  different jury instructions, two different verdict slips. 8/5-8/6 will be our follow-up on
                                  30(b)(6). goodLeap has till 8/2 to get us updated sheet. sorts through questionnaire;
                                  no comments. go through and reduce voir dire by a few. MIL due 8/7, opp due 8/12.
                                  (1.5) reviewed AMM edits on default judgment motion, finalized, and filed (0.6)
07/19/2024   2.5   Gentes, Jeff   looked into cutpa.gov notification, supp produced same (0.4)
07/22/2024   0.1   Gentes, Jeff   with court reporter re Mark Murphy depn. various follow-up from recent depns.
07/24/2024   0.1   Gentes, Jeff   various re jury instructions, verdict slip
                                  conf w/AMM re next filings, needed briefing. tc wGoodLeap counsel Barraza and
                                  Mooney re jury instructions. verdict slips involve apportionment issues and the like
07/25/2024   0.7   Gentes, Jeff   that won't be resolved now.review proposals from o/c
                                  worked on jury instructions, cover sheet for filing, plan with FM. worked through final
07/26/2024   1.7   Gentes, Jeff   revisions, compiled package for court matters
                                  while in Boston with son, dealt with getting courtesy copies of jury instructions &
07/27/2024   0.3   Gentes, Jeff   verdict slips printed and shipped.
07/31/2024   0.6   Gentes, Jeff   conf w/FM re MILs, JPTM, prep for related pre-trial filings.
                                  started MIL opp for GoodLeap's anticipated filing - procedural history, relevant
08/01/2024   1.4   Gentes, Jeff   allegations, reviewed prior MIL, research re same.
                                  various re exhibits and stips due today, conf w/FM and o/c re same. (0.5) research and
                                  work on MIL opp:standard for MIL + 401 + 403 (0.8) distinguish cases cited by
                                  GoodLeap in its past motion (1.5) explain relevance/admissibility of evidence from our
                                  standpoint (0.7) review and comment on MIL re fees. (0.3) edits to MIL re defaulted
08/02/2024   4.6   Gentes, Jeff   defendants, research re same, conf w/JLJ re same. (0.8)
08/03/2024   0.2   Gentes, Jeff   with o/c re clawback, supp production
                                  various re trial prep. tc w/FM re spreadsheet, depn, witness issues, reach out to o/c
08/05/2024   0.8   Gentes, Jeff   for m&c re same. with court re exhibits.
08/06/2024    1    Gentes, Jeff   30(b)(6) follow-up. Debrief with FM re inadequacy of same.
                                  draft mtc based on customer complaints, conf w/FM re same and other related
08/06/2024   1.5   Gentes, Jeff   disputes.

                                  edits to motion to compel/motion for sanctions re customer complaints, conf w/FM
08/07/2024   0.6   Gentes, Jeff   re same. finalized, filed. reviewed interim response, conf w/FM re Friday call re same.
                                  reviewed MILs, conf w/FM re same, started draft of opp to same.Back and forth with
08/08/2024   2     Gentes, Jeff   client & FM re settlement, get agreement drafted and signed by GoodLeap.
                                  dismissal and report filed.hearing with Spector, JLJ. issued orders relieving GoodLeap
                                  of appearing. make pitch for damages hearing. end up with:9:30 - 8/21 - short hearing
                                  on damages (we have all day if needed)Keep eye on docket for the courtroom (4 or
                                  5)8/14 - report - updated - exhibit/witness list=adopted as proposed.prepare for and
08/09/2024   1     Gentes, Jeff   debrief with FM re same.
                                  conf w/FM re moving for fees now, related considerations and sample materials .
08/12/2024   0.4   Gentes, Jeff   email to D. Rosen re same.
08/13/2024   0.4   Gentes, Jeff   first draft at aff re market rate for fees.
                                  extensive research into atty fees rules around defaulting defendants when there other
08/13/2024   2.7   Gentes, Jeff   parties in 2dCir, conf w/FM re same.
                                  conf w/Milz re 8/21 hearing, client meeting re same, prepared for same. edits to
08/14/2024   1.6   Gentes, Jeff   witness/exhibit list, review for same. ultimately court-filed the final version.
08/15/2024   2.6   Gentes, Jeff   compile timesheets for fee application, conf w/SW re same.
                                  work on hearing in damages, research re Murphy appearance, conf w/FM re same.
08/15/2024   0.7   Gentes, Jeff   update clients on hearing.
                                  reviewed FM fee certifications, worked on draft Rosen affidavit, worked on JG and SW
08/15/2024   2.3   Gentes, Jeff   declarations, conf w/D. Rosen re same.



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                                             worked on fee sheet, time allocation, etc. tc w/Milz re approach for hearing in
    8/16/2024      1.7        Gentes, Jeff   damages, post-judgment filings; emails w/Rosen, SW re declarations
    8/18/2024      0.2        Gentes, Jeff   w/D. Rosen re his aff and mine
                                             conf w/Andy re prep for Weds hearing. research and provide Andy with elder
    8/19/2024      0.9        Gentes, Jeff   abuse/actual damage language
                                             hearing-in-damage prep mtg, travel to/from conf w/SW re default entry, tracking on
    8/20/2024      4.1        Gentes, Jeff   same. conf w/AMM re asks, plan for tmrw.
                                             hearing in damages. prep for same, incl. Prime Energy's outdoor advertising. drive
    8/21/2024      11.6       Gentes, Jeff   to/from. debrief with clients, Atty Milz. drive to/from. wrote off 2 hrs.
    8/22/2024       0.2       Gentes, Jeff   follow-up to prior day's hearing, collection leads, etc.
    8/23/2024       0.1       Gentes, Jeff   various re follow-up from 8/21 default j hearing.
     9/4/2024       0.4       Gentes, Jeff   spector decision. conf w/FM, alert clients.
     9/5/2024       0.1       Gentes, Jeff   various re judgment + collection
     9/6/2024       0.2       Gentes, Jeff   conf w/FM, GK re fee collection tactics.
     9/9/2024       0.1       Gentes, Jeff   conf w/FM re entry of judgment. call to court triggers entry today.
    9/17/2024       0.4       Gentes, Jeff   conf w/Milz re fee approach
    9/18/2024       0.1       Gentes, Jeff   finalize & sent aff to DNR for execution

                                             conf w/AM re fee motion, emails w/Rosen, conf w/SW re fee motion (0.5) conf w/AM,
    9/19/2024      1.2        Gentes, Jeff   GK re fee & cost distribution. finalized & prepared same. (0.7, non-recoverable)
    9/20/2024      2.3        Gentes, Jeff   finalize fee tally + declarations, conf w/FM Re same.
    9/20/2024      0.2        White, Sarah   Review and execute declaration
                                             edits to fee motion + updated declaration + put all in near-final shape. conf w/FM re
    9/22/2024      1.8        Gentes, Jeff   same.
    9/23/2024       0         Gentes, Jeff   [not seeking] w/FM on fee motion

total             217.1      <---reflects reduction of several hours for internal meetings, call setups internally, and other admin
                             <---161.8 JG total time, 55.3 SW total time. JG @ $450 + SW @ $350

                $12,630.00              42.1 Merits time - 1/3 reduction (JG)
                 $5,623.33              24.1 Merits time - 1/3 reduction (SW)

                $6,570.00               29.2 Arbitration Time - 1/2 reduction (JG)
                $3,955.00               22.6 Arbitration Time - 1/2 reduction (SW)

                   $0                   47.8 GL Trial prep - 100% reduction (JG)
                   $0                    6.7 GL Trial prep - 100% reduction (SW)

                $19,215.00              42.7 Default + fee time = no reduction (JG)
                 $595.00                 1.7 Default + fee time = no reduction (SW)

                $92,095.00 Total amount
                $48,588.33 Total sought
                $43,506.67 reduction




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